     Case 2:24-cv-03100-WBS-SCR             Document 4       Filed 01/06/25   Page 1 of 9


 1    DERICK E. KONZ, No. 286902
        dkonz@akk-law.com
 2    WILLIAM J. BITTNER, No. 292056
 3      wbittner@akk-law.com
      ANGELO, KILDAY & KILDUFF, LLP
 4    Attorneys at Law
      601 University Avenue, Suite 150
 5    Sacramento, CA 95825
 6    Telephone: (916) 564-6100
      Telecopier: (916) 564-6263
 7
      Attorneys for Defendant CITY OF MT. SHASTA and JEREMIAH CAPURRO
 8    PUBLIC ENTITY, FILING FEES WAIVED PURSUANT TO GOV’T CODE §6103
 9
10                                   UNITED STATES DISTRICT COURT

11                                  EASTERN DISTRICT OF CALIFORNIA
12
      JULIA DETWEILER,                                )     Case No.: 2-24-CV-03100-SCR
13                                                    )
                                      Plaintiff,      )     DEFENDANTS CITY OF MT. SHASTA
14                                                    )     AND OFFICER JEREMIAH CAPURRO’S
15                            vs.                     )     ANSWER TO COMPLAINT
                                                      )
16    CITY OF MT. SHASTA,                             )
                                                      )
17                                    Defendants.     )
18                                                    )
                                                      )
19                                                    )
20            Defendants CITY OF MT. SHASTA and JEREMIAH CAPURRO submit the following
21    answer to Plaintiff’s Complaint (ECF No. 1). Defendants generally deny all allegations except
22    those specifically admitted. Each paragraph number in this answer corresponds to the paragraph
23    number in the Complaint.
24            1.      Admit that jurisdiction and venue are proper.
25            2.      Admit that jurisdiction and venue are proper.
26            3.      The introduction requires no response. Deny any unlawful conduct.
27            4.      The introduction requires no response. Deny any unlawful conduct.
28            5.      Defendants are without sufficient knowledge or information to admit or deny and

                                                      -1-
            DEFENDANTS CITY OF MT. SHASTA AND OFFICER JEREMIAH CAPURRO’S ANSWER TO
                                           COMPLAINT
     Case 2:24-cv-03100-WBS-SCR           Document 4        Filed 01/06/25      Page 2 of 9


 1    on that basis deny.
 2           6.      Defendants are without sufficient knowledge or information to admit or deny and
 3    on that basis deny.
 4           7.      To the extent that this allegation contains legal conclusions, no response is required
 5    or provided. Otherwise, admit that the City is a public entity, that the Mt. Shasta Police
 6    Department is a division of the entity, and that the City was the employer of Officer Capurro at
 7    the time of the incident.
 8           8.      To the extent that this allegation contains legal conclusions, no response is required
 9    or provided. Otherwise, admit that Officer Capurro was acting in the course and scope of
10    employment and under color of law at the time of the incident.
11           9.      Defendants are without sufficient knowledge or information to admit or deny and
12    on that basis deny.
13           10.     Defendants are without sufficient knowledge or information to admit or deny and
14    on that basis deny.
15           11.     Defendants are without sufficient knowledge or information to admit or deny and
16    on that basis deny.
17           12.     Deny.
18           13.     Defendants are without sufficient knowledge or information to admit or deny and
19    on that basis deny.
20           14.     Defendants are without sufficient knowledge or information to admit or deny and
21    on that basis deny.
22           15.     Defendants are without sufficient knowledge or information to admit or deny and
23    on that basis deny.
24           16.     To the extent that this allegation contains legal conclusions, no response is required
25    or provided.
26           17.     To the extent that this allegation contains legal conclusions, no response is required
27    or provided. Otherwise, admit that Officer Capurro was acting in the course and scope of
28    employment at the time of the incident.

                                                      -2-
            DEFENDANTS CITY OF MT. SHASTA AND OFFICER JEREMIAH CAPURRO’S ANSWER TO
                                           COMPLAINT
     Case 2:24-cv-03100-WBS-SCR           Document 4          Filed 01/06/25   Page 3 of 9


 1           18.     Defendants incorporate all prior corresponding responses hereto.
 2           19.     Defendants are without sufficient knowledge or information to admit or deny and
 3    on that basis deny.
 4           20.     Admit.
 5           21.     Admit that Officer Capurro contacted Mr. Detweiler who was seated. Defendants
 6    are without sufficient knowledge or information to admit or deny whether Mr. Detweiler was
 7    sleeping when he was contacted.
 8           22.     Admit that Officer Capurro shined a flashlight on Mr. Detweiler, announced that
 9    he was a police officer, told Mr. Detweiler to keep his hands up, turn around, and not touch
10    anything. Mr. Detweiler refused to obey these lawful orders. Admit that Officer Capurro attempted
11    to prevent Mr. Detweiler from possessing a bag while Officer Capurro attempted to investigate the
12    reported crime. Deny any remaining allegations.
13           23.     Admit that Officer Capurro discharged his taser. Defendants are without sufficient
14    knowledge or information to admit or deny whether the taser struck Mr. Detweiler. Deny that it
15    was without justification. Deny any remaining allegations.
16           24.     Admit that Mr. Garrett grabbed Mr. Detweiler from behind and that Officer
17    Capurro discharged his taser again. Deny any remaining allegations.
18           25.     Admit that Officer Capurro attempted to strike Mr. Detweiler with his police baton.
19    Deny the remaining allegatins.
20           26.     Deny that Mr. Detweiler was restrained. Defendants are without sufficient
21    knowledge or information to admit or deny the remaining allegations.
22           27.     Deny that Mr. Detweiler was restrained. Admit that Mr. Detweiler put brass
23    knuckles on his right hand and attempted to strike Mr. Garrett. Admit that Officer Capurro
24    discharged his firearm, striking Mr. Detweiler.
25           28.     Deny.
26           29.     Deny.
27           30.     Deny.
28           31.     Deny.

                                                        -3-
            DEFENDANTS CITY OF MT. SHASTA AND OFFICER JEREMIAH CAPURRO’S ANSWER TO
                                           COMPLAINT
     Case 2:24-cv-03100-WBS-SCR           Document 4        Filed 01/06/25      Page 4 of 9


 1           32.     Deny.
 2           33.     Deny.
 3           34.     Defendants are without sufficient knowledge or information to admit or deny and
 4    on that basis deny.
 5           35.     Deny.
 6           36.     Admit that Mr. Detweiler was not armed with a firearm. Deny that he did not
 7    possess any other deadly weapon.
 8           37.     Deny.
 9           38.     Admit.
10           39.     Defendants are without sufficient knowledge or information to admit or deny and
11    on that basis deny.
12           40.     To the extent that this allegation contains legal conclusions, no response is required
13    or provided. Admit that claims were submitted on June 4, 2024 and were denied by operation of
14    law.
15           41.     Defendants incorporate all prior corresponding responses hereto.
16           42.     Deny.
17           43.     Deny.
18           44.     Deny.
19           45.     Deny.
20           46.     Deny.
21           47.     Deny.
22           48.     Deny.
23           49.     Admit that Plaintiff brings claims and seeks damages. Deny unlawful conduct by
24    Defendants.
25           50.     Admit that Plaintiff seeks attorney’s fees.
26           51.     Defendants incorporate all prior corresponding responses hereto.
27           52.     Admit that Officer Capurro attempted to seize Mr. Detweiler, eventually utilized
28    his taser, baton and firearm, and handcuffed Mr. Detweiler. Deny the remaining allegations.

                                                      -4-
             DEFENDANTS CITY OF MT. SHASTA AND OFFICER JEREMIAH CAPURRO’S ANSWER TO
                                            COMPLAINT
     Case 2:24-cv-03100-WBS-SCR          Document 4        Filed 01/06/25   Page 5 of 9


 1          53.     Deny.
 2          54.     Deny.
 3          55.     Deny.
 4          56.     Admit.
 5          57.     Deny.
 6          58.     Deny.
 7          59.     Deny.
 8          60.     Admit that Plaintiff brings claims and seeks damages. Deny unlawful conduct by
 9    Defendants.
10          61.     Admit that Plaintiff seeks attorney’s fees.
11          62.     Defendants incorporate all prior corresponding responses hereto.
12          63.     Deny.
13          64.     Deny.
14          65.     Deny.
15          66.     Deny.
16          67.     Deny.
17          68.     Deny.
18          69.     Admit that Plaintiff brings claims and seeks damages. Deny unlawful conduct by
19    Defendants.
20          70.     Admit that Plaintiff seeks attorney’s fees.
21          71.     Defendants incorporate all prior corresponding responses hereto.
22          72.     This is a legal conclusion that requires no response.
23          73.     Deny.
24          74.     Deny.
25          75.     Deny.
26          76.     Deny.
27          77.     Deny.
28          78.     Admit that Plaintiff brings claims and seeks damages. Deny unlawful conduct by

                                                     -5-
           DEFENDANTS CITY OF MT. SHASTA AND OFFICER JEREMIAH CAPURRO’S ANSWER TO
                                          COMPLAINT
     Case 2:24-cv-03100-WBS-SCR          Document 4        Filed 01/06/25     Page 6 of 9


 1    Defendants.
 2           79.    Admit that Plaintiff seeks attorney’s fees.
 3           80.    Defendants incorporate all prior corresponding responses hereto.
 4           81.    To the extent this is a legal conclusion, no response is required. Otherwise,
 5    Defendants are without sufficient knowledge or information to admit or deny.
 6           82.    This is a legal conclusion for which no response is required.
 7           83.    This is a legal conclusion for which no response is required.
 8           84.    This is a legal conclusion for which no response is required.
 9           85.    Deny.
10           86.    Deny.
11           87.    Defendants are without sufficient knowledge or information to admit or deny.
12           88.    Admit that Plaintiff brings claims and seeks damages. Deny unlawful conduct by
13    Defendants.
14           89.    Admit that Plaintiff seeks attorney’s fees.
15           90.    Defendants incorporate all prior corresponding responses hereto.
16           91.    Admit that Officer Capurro used deadly force. Deny the remaining allegations.
17           92.    This is a legal conclusion for which no response is required. Otherwise, admit that
18    Officer Capurro was acting in the course and scope of employment.
19           93.    Deny that Mr. Detweiler was physically restrained. Defendants are without
20    sufficient knowledge or information to admit or deny any remaining allegations.
21           94.    This is a legal conclusion for which no response is required.
22           95.    Deny.
23           96.    Deny.
24           97.    Admit that Plaintiff brings claims and seeks damages. Deny unlawful conduct by
25    Defendants.
26           98.    Defendants incorporate all prior corresponding responses hereto.
27           99.    Deny.
28           100.   Deny.

                                                     -6-
            DEFENDANTS CITY OF MT. SHASTA AND OFFICER JEREMIAH CAPURRO’S ANSWER TO
                                           COMPLAINT
     Case 2:24-cv-03100-WBS-SCR           Document 4        Filed 01/06/25     Page 7 of 9


 1           101.    This is a legal conclusion for which no response is required. Otherwise, admit that
 2    Officer Capurro was acting in the course and scope of employment.
 3           102.    This is a legal conclusion for which no response is required.
 4           103.    Admit that Plaintiff brings claims and seeks damages. Deny unlawful conduct by
 5    Defendants.
 6           104.    Defendants incorporate all prior corresponding responses hereto.
 7           105.    This is a legal conclusion for which no response is required.
 8           106.    This is a legal conclusion for which no response is required.
 9           107.    This is a legal conclusion for which no response is required.
10           108.    Deny.
11           109.    Deny.
12           110.    Deny.
13           111.    Deny.
14           112.    Deny.
15           113.    Defendants are without sufficient knowledge or information to admit or deny.
16           114.    Deny.
17           115.    This is a legal conclusion for which no response is required. Otherwise, admit that
18    Officer Capurro was acting in the course and scope of employment.
19           116.    Deny.
20           117.    Admit that Plaintiff brings claims and seeks damages. Deny unlawful conduct by
21    Defendants.
22           118.    Admit that Plaintiff seeks attorney’s fees.
23                                     AFFIRMATIVE DEFENSES
24           Defendants allege the following separate and distinct affirmative defenses:
25           1.      Officer Capurro is entitled to qualified immunity as to the federal claims because
26    there was no clearly established law at the time of this incident that prohibited Officer Capurro’s
27    use of force in response to Mr. Detweiler refusing to obey lawful commands and assaulting an
28    officer and then Mr. Garrett with illegal brass knuckles.

                                                      -7-
            DEFENDANTS CITY OF MT. SHASTA AND OFFICER JEREMIAH CAPURRO’S ANSWER TO
                                           COMPLAINT
     Case 2:24-cv-03100-WBS-SCR            Document 4          Filed 01/06/25   Page 8 of 9


 1            2.     Pursuant to provisions of the California Government Code §§ 815.2(b) and 820.2,
 2    Defendants are entitled to discretionary immunity as to the state-law claims alleging that Officer
 3    Capurro’s decision to use a taser, baton and firearm were unlawful.
 4            3.     Pursuant to provisions of the California Government Code §§ 815.2(b) and 820.8,
 5    Defendants are entitled to immunity as to the state-law claims to the extent Mr. Detweiler was
 6    injured by the act or omission of other persons.
 7            4.     There is no state-law liability pursuant to Penal Code §§ 835 and 835a because
 8    Officer Capurro was attempting to make a lawful arrest and used reasonable force when Mr.
 9    Detweiler refused to comply with lawful commands and assaulted an officer and Mr. Garrett with
10    brass knuckles.
11            5.     Officer Capurro acted in self-defense and defense of others.
12            6.     Plaintiffs did not comply with the California Government Claims Act prior to filing
13    suit.
14            7.     Mr. Detweiler assumed the risk of any injury and/or damages caused by his own
15    conduct.
16            8.     Mr. Detweiler and/or other third parties were contributorily negligent.
17            9.     Plaintiff failed to mitigate damages.
18            10.    Plaintiff failed to join all indispensable parties.
19            11.    Plaintiff’s claims for punitive or exemplary damages violate Defendants’ right to
20    procedural due process, substantive due process, and protection from “excessive” fines as
21    guaranteed by the Fifth, Fourteenth, and Eighth Amendments to the United States Constitution,
22    respectively, and the Constitution of the State of California.
23                                                  PRAYER
24            Wherefore, Defendant requests the following relief:
25            1.     That Plaintiff’s Complaint be dismissed in its entirety without leave to amend and
26    that Plaintiff take nothing by way of Complaint;
27            2.     That Defendants be henceforth dismissed from this matter with prejudice;
28            3.     That judgment be entered in favor of Defendants and against Plaintiff;

                                                         -8-
              DEFENDANTS CITY OF MT. SHASTA AND OFFICER JEREMIAH CAPURRO’S ANSWER TO
                                             COMPLAINT
     Case 2:24-cv-03100-WBS-SCR              Document 4       Filed 01/06/25   Page 9 of 9


 1           4.      That Defendants be awarded attorney’s fees and costs of suit incurred under and by
 2    virtue of the laws stated above; and
 3           5.      For such other and further relief as the Court deems just and proper.
 4
 5
 6     Dated: January 6, 2025                               ANGELO, KILDAY & KILDUFF, LLP
 7                                                             /s/ Derick E. Konz
 8                                                          By:_________________________________
                                                               DERICK KONZ
 9                                                             WILLIAM J. BITTNER
                                                               Attorneys for Defendants CITY OF MT.
10                                                             SHASTA and JEREMIAH CAPURRO
11
12
13
                                      DEMAND FOR JURY TRIAL
14
             Defendants respectfully demands that all issues of fact be tried herein by and before a jury.
15
16     Dated: January 6, 2025                               ANGELO, KILDAY & KILDUFF, LLP
17
                                                               /s/ Derick E. Konz
18                                                          By:_________________________________
                                                               DERICK KONZ
19                                                             WILLIAM J. BITTNER
                                                               Attorneys for Defendants CITY OF MT.
20
                                                               SHASTA and JEREMIAH CAPURRO
21
22
23
24
25
26
27
28

                                                      -9-
            DEFENDANTS CITY OF MT. SHASTA AND OFFICER JEREMIAH CAPURRO’S ANSWER TO
                                           COMPLAINT
